                  EXHIBIT B




Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 1 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 2 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 3 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 4 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 5 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 6 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 7 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 8 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 9 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 10 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 11 of 12
Case 3:20-cv-00710-MOC-SCR Document 468-2 Filed 06/07/24 Page 12 of 12
